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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS



  VALLEY HOPE ASSOCIATION,

                   Plaintiff,                                Case No. 2:18-CV-02276
  vs.

  AMERISOURCEBERGEN DRUG CORPORATION,
  ET. AL.,

                   Defendants.


                            DISCLOSURE STATEMENT FORM

        The nongovernmental corporate party Valley Hope Association in the above listed civil

action does not have any parent corporation or public corporation owning 10% or more of its stock.

                                             s/Aaron L. Kite
                                             David J. Rebein #10476
                                             Aaron L. Kite #18765
                                             REBEIN BROTHERS
                                             TRIAL LAWYERS
                                             P.O. Box 1147
                                             Dodge City, Kansas 67801
                                             620-227-8126
                                             620-227-8451 (f)
                                             620-338-0593 (c)
                                             dave@rbr3.com
                                             aaron@rbr3.com
                                             Attorneys for Plaintiff




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